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                                 UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF FLORIDA
                         CASE NO.: 23-CV-81027-MIDDLEBROOKS/Matthewman

   DALIA DIPPOLITO,

           Petitioner,

   V.


   FLORIDA DEPARTMENT OF CORRECTIONS,

           Respondent.
   - - - - - - - - - - - - - - - - -I
                    ORDER ADOPTING REPORT OF MAGISTRATE JUDGE

           THIS CAUSE comes before the Court on Magistrat<;: Judge William Matthewman's

   Report, issued on April 22, 2025. (DE 17). The Report recommends denying Petitioner Dalia

   Dippolito' s Petition for Writ of Habeas Corpus pursuant to 28 U.S.C. § 2254. (Id.). Petitioner filed

   timely Objections to the Report. (DE 18).

           I have conducted a de nova review of the Report, objections, and the record as a whole.

   Upon review, I agree with Magistrate Judge Matthewman's conclusion that Ms. Dippolito's habeas

   petition should be denied. Further, I agree with the Report's finding that no certificate of

   appealability should issue.

           Accordingly, it is ORDERED AND ADJUDGED that:

        (1) Petitioner's Objections to the Magistrate's Report (DE 18) are OVERRULED.

        (2) Magistrate Judge Matthewman's Report (DE 17) is hereby ADOPTED.

        (3) Petitioner's prose Petition for Writ of Habeas Corpus pursuant to 28 U.S.C. § 2254 (DE

           1) is DENIED.

        (4) A Certificate of Appealability is DENIED.
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      (5) Final judgment will be entered by separate Order.

      SIGNED in Chambers in West Palm Beach, Florida, this    7 day of May 2025.



                                                      DONALD M. MIDDLEBROOKS
                                                      UNITED STATES DISTRICT JUDGE


   Copies to: Magistrate Judge William Matthe\V!Ilan;
              Counsel of Record




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